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 6
     (Additional Counsel for Plaintiffs Listed on the Signature Page)
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                            FOR THE DISTRICT OF ARIZONA
10
11     C.M., on her own behalf and on behalf of     No. 2:19-cv-05217-SRB
       her minor child, B.M.; L.G., on her own
12     behalf and on behalf of her minor child,     PLAINTIFFS’ UNOPPOSED
       B.G.; M.R., on her own behalf and on         MOTION TO LIFT STAY AND
13     behalf of her minor child, J.R.; O.A., on    REQUEST FOR STATUS
       her own behalf and on behalf of her          CONFERENCE
14     minor child, L.A.; and V.C., on her own
15     behalf and on behalf of her minor child,
       G.A.,
16                         Plaintiffs,
17                  v.
18     United States of America,
19                         Defendant.
20
       A.P.F., on his own behalf and on behalf      No. 2:20-cv-00065-SRB
21     of his minor child, O.B.; and J.V.S., on
       his own behalf and on behalf of his minor
22     child, H.Y.,

23                         Plaintiffs,

24                  v.
       United States of America,
25
                           Defendant.
26
27
28
             Case 2:19-cv-05217-SRB Document 117 Filed 12/16/21 Page 2 of 3




 1          On December 16, 2021, the United States terminated the settlement negotiations in
 2   which the parties have been engaged for the last eight months. In light of this development,
 3
     Plaintiffs now move to lift the stay currently in effect in this case (ECF No. 115).
 4
 5   Defendant does not oppose this request.

 6          Plaintiffs further request that the Court reinstate, or in the alternative, grant Plaintiffs
 7   leave to refile, and issue decisions on (1) their motion to compel production of relevant
 8
     documents (ECF No. 92); and (2) Plaintiffs’ motion to compel discovery withheld by the
 9
     government based on improper privilege assertions (ECF No. 93). Both motions were
10
11   dismissed “without prejudice to refile if a settlement is not achieved and litigation of these
12   cases resumes.” ECF No. 111. Plaintiffs further request a status conference at the Court’s
13
     earliest convenience to discuss these matters as well as the reinstatement without further
14
     extension of the impending deadline for substantial completion of Defendant’s production
15
16   of policy-level ESI and a revision to the schedule for completion of all other discovery.
17   Counsel for Plaintiffs will make themselves available at any time the Court designates.
18
            RESPECTFULLY SUBMITTED this 16th day of December, 2021.
19
20                                                /s/ Diana Reiter___
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            Case 2:19-cv-05217-SRB Document 117 Filed 12/16/21 Page 3 of 3




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